            Case 4:07-cv-05944-JST Document 2242-1 Filed 12/03/13 Page 1 of 4




 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 204-7356
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.

14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  DECLARATION OF CRAIG A.
21                                                              BENSON IN SUPPORT OF
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   SHARP’S MOTION TO COMPEL
     Case No. C 13-1173 (SC)
22

23

24

25

26

27
28

                 DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S MOTION TO COMPEL
                             Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2242-1 Filed 12/03/13 Page 2 of 4




 1   I, Craig A. Benson, hereby declare as follows:

 2          1. I am a Partner with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, counsel

 3   for Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America,

 4   Inc. (collectively, “Sharp”). I am a member of the bar of the State of Maryland and I am admitted to

 5   practice before this court pro hac vice.

 6          2. I submit this declaration in support of Sharp’s Motion to Compel. I have personal knowledge

 7   of the matters set forth herein and, if called as a witness, I could and would testify competently to them.

 8          3. Pursuant to Fed. R. Civ. P. 37 and Local Rule 37, Sharp has in good faith conferred with the

 9   Toshiba and Panasonic defendants in an effort to obtain discovery without court action. The substance

10   of those conferences is recounted in Exhibits L through P attached hereto. Sharp also has contacted the

11   Direct Purchaser Plaintiffs in attempts to obtain materials from that plaintiff class that would be helpful

12   in evaluating the Toshiba and Panasonic defendants’ responses, but the Direct Purchaser Plaintiffs have

13   not provided any such materials or information to Sharp.

14          4. Exhibit A is a true and correct copy of the redacted Expert Report of Robert D. Willig, dated

15   December 17, 2012.

16          5. Exhibit B is a true and correct copy of the Direct Purchaser Plaintiffs’ First Set of

17   Interrogatories, dated March 12, 2010.

18          6. Exhibit C is a true and correct copy of Toshiba Corporation’s Supplemental Objections and

19   Responses to Interrogatory Nos. Four and Five of Direct Purchaser Plaintiffs’ First Set of

20   Interrogatories, dated February 10, 2012.

21          7. Exhibit D is a true and correct copy of Toshiba America Electronic Components, Inc.’s

22   Supplemental Objections and Responses to Interrogatory Nos. Four and Five of Direct Purchaser

23   Plaintiffs’ First Set of Interrogatories, dated February 10, 2012.

24          8. Exhibit E is a true and correct copy of Attachment A to the Responses and Objections of

25   Defendants Panasonic Corp. of North America, MT Picture Display Co., Ltd., and Panasonic Corp.

26   (f/k/a Matsushita Electric Industrial Co., Ltd.) to Plaintiffs Sharp Electronics Corporation and Sharp
27   Electronics Manufacturing Company of America, Inc.’s First Set of Interrogatories to Defendants.

                                                      -2-
                DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S MOTION TO COMPEL
                            Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 4:07-cv-05944-JST Document 2242-1 Filed 12/03/13 Page 3 of 4




 1           9. Exhibit F is a true and correct copy of Sharp’s First Set of Interrogatories to Defendants,

 2   served on September 19, 2013.

 3           10. Exhibit G is a true and correct copy of Toshiba Corporation’s Objections and Responses to

 4   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.’s First

 5   Set of Interrogatories to Defendants, dated October 24, 2013.

 6           11. Exhibit H is a true and correct copy of Toshiba America Electronic Components, Inc.’s

 7   Objections and Responses to Sharp Electronics Corporation and Sharp Electronics Manufacturing

 8   Company of America, Inc.’s First Set of Interrogatories to Defendants, dated October 24, 2013.

 9           12. Exhibit I is a true and correct copy of Toshiba America, Inc.’s Objections and Responses to

10   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.’s First

11   Set of Interrogatories to Defendants, dated October 24, 2013.

12           13. Exhibit J is a true and correct copy of Toshiba America Information Systems, Inc.’s

13   Objections and Responses to Sharp Electronics Corporation and Sharp Electronics Manufacturing

14   Company of America, Inc.’s First Set of Interrogatories to Defendants, dated October 24, 2013.

15           14. Exhibit K is a true and correct copy of the Responses and Objections of Defendants

16   Panasonic Corp. of North America, MT Picture Display Co., Ltd., and Panasonic Corp. (f/k/a Matsushita

17   Electric Industrial Co., Ltd.) to Plaintiffs Sharp Electronics Corporation and Sharp Electronics

18   Manufacturing Company of America, Inc.’s First Set of Interrogatories to Defendants, dated October 24,

19   2013.

20           15. Exhibit L is a true and correct copy of the letter dated November 1, 2013 from William

21   Blaise Warren to Dana E. Foster.

22           16. Exhibit M is a true and correct copy of the letter dated November 5, 2013 from Dana E.

23   Foster to William Blaise Warren.

24           17. Exhibit N is true and correct copy of the letter dated November 7, 2013 from William Blaise

25   Warren to Dana E. Foster.

26           18. Exhibit O is a true and correct copy of the letter dated November 7, 2013 from William
27   Blaise Warren to Kevin B. Goldstein.

                                                     -3-
                 DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S MOTION TO COMPEL
                             Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2242-1 Filed 12/03/13 Page 4 of 4




 1          19. Exhibit P is a true and correct copy of the letter dated November 13, 2013 from Lara Veblen

 2   to William Blaise Warren.

 3

 4          I declare under penalty of perjury under the laws of the United States of America that the

 5   foregoing is true and correct.

 6          Executed this 3rd day of December, 2013, in Washington, D.C.

 7

 8                                                        /s/ Craig A. Benson

 9                                                                   Craig A. Benson

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

                                                   -4-
                DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S MOTION TO COMPEL
                            Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
